                     Case 23-01051-PDR              Doc 79    Filed 05/11/23        Page 1 of 1




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov

    IN RE:                                                                Chapter 11 Case

    VITAL PHARMACEUTICALS, INC., et al.,1                                 Case No. 22-17842 (PDR)

             Debtors.                                                     (Jointly Administered)
                                                                 /

VITAL PHARMACEUTICALS, INC., et al.

                     Plaintiffs,

v.                                                                        Adv. Pro. No. 23-01051 (PDR)

    JOHN H. OWOC and MEGAN E. OWOC,

                    Defendants.
                                                                 /

                                               CERTIFICATE OF SERVICE

        I, Ana M. Galvan, depose and say that I am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

        On May 10, 2023, at my direction and under my supervision, employees of Stretto caused
the following documents to be served via first-class mail on John Owoc & Megan Owoc, c/o
Shraiberg Page, P.A., Attn: Patrick R. Dorsey, Bradley S. Shraiberg at 2385 NW Executive Center
Dr, Suite 300, Boca Raton, FL 33431, and via electronic mail at pdorsey@slp.law; bss@slp.law:

          Emergency Motion to Allow the Debtors to Post “Corrective Statement” on the CEO
           Accounts (Docket No. 77)

          Notice of Hearing re Emergency Motion to Allow the Debtors to Post “Corrective
           Statement” on the CEO Accounts (Emergency Hearing Requested on May 11, 2023)
           (Guso, Jordi) (77) (Docket No. 78)

Dated: May 11, 2023                                                              /s/ Ana M. Galvan
                                                                               Ana M. Galvan
                                                                               STRETTO
                                                                               410 Exchange, Suite 100
                                                                               Irvine, CA 92602
                                                                               855-493-7375
                                                                               TeamVitalPharma@stretto.com
____________________________________________
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  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
